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   7 ESSENTIAL CONSULTANTS, LLC and
   8
     MICHAEL COHEN

   9
                           UNITED STATES DISTRICT COURT
  10
                         CENTRAL DISTRICT OF CALIFORNIA
  11
  12 STEPHANIE CLIFFORD a.k.a.                 Case No. 2:18-CV-02217-SJO-FFM
       STORMY DANIELS a.k.a. PEGGY
  13 PETERSON, an individual,                  DEFENDANTS ESSENTIAL
                                               CONSULTANTS LLC AND
  14                                           MICHAEL COHEN'S REPLY RE
                  Plaintiff,
  15                                           OBJECTION TO PLAINTIFF'S
                                               MOTION FOR EXPEDITED JURY
  16         v.
                                               TRIAL (DKT.#29) ON THE BASIS
  17 DONALD J. TRUMP a.k.a. DAVID              OF PLAINTIFF'S NON-
                                               COMPLIANCE WITH LOCAL
  18 DENNISON, an individual,
                                               RULE 7-3 AND THIS COURT'S
     ESSENTIAL CONSULTANTS, LLC, a
  19                                           STANDING ORDER
     Delaware Limited Liability Company,
  20 MICHAEL COHEN, an individual, and
                                               Assigned for All Purposes to the
     DOES 1 through 10, inclusive,
  21                                           Hon. S. James Otero
  22                Defendants.                Date:     May 7, 2018
  23                                           Time:     10:00 a.m.
                                               Location: 350 West 1st Street
  24                                                     Courtroom 10C, 10th Floor
  25                                                     Los Angeles, CA 90012

  26                                           Action Filed: March 6, 2018
  27
  28

          REPLY RE OBJECTION TO PLAINTIFF'S MOTION FOR EXPEDITED JURY TRIAL
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   1        Plaintiff's counsel, Michael Avenatti, admits in Clifford's Response to
   2 Plaintiff's Objection (Dkt. #33) that Plaintiff never met and conferred regarding the
   3 present Motion for Expedited Jury Trial (Dkt. #29). Plaintiff's proffered justification
   4 for not following the Local Rules and this Court's Standing Order is that Plaintiff's
   5 counsel subjectively believed that a meet and confer would not have been fruitful,
   6 and therefore was unnecessary. The excuse given by Plaintiff is without a doubt
   7 unacceptable.
   8        As with scheduling orders, standing orders are not a frivolous piece of paper,
   9 idly entered, which can be cavalierly disregarded by counsel without peril. Gestetner
  10 Corp. v. Case Equip. Co., 108 F.R.D. 138, 141 (D. Maine 1985).       This Court's
  11 Standing Order is not a suggestion, but rather a court Order that the parties "must
  12 discuss the substantive grounds for the motion and attempt to reach an accord
  13 that would eliminate the need for the motion." (Dkt. #11) Plaintiff's attorney is no
  14 exception.1
  15        Plaintiff's argument that the March 21, 2018 conference in connection with the
  16 prior motion (Dkt. #16) (which this Court denied) should somehow qualify as a meet
  17 and confer regarding the present motion (Dkt. #29) is equally unavailing. First, Local
  18 Rule 7-3 and this Court's Standing Order requires a separate meet and confer
  19 regarding every motion filed. Second, Plaintiff's counsel did not discuss or otherwise
  20 meet and confer regarding a motion for expedited jury trial during the March 21, 2018
  21 meeting, which is confirmed by the correspondence between the parties. 2
  22
  23        1
             If attorneys were allowed to disregard the meet and confer requirements set
  24
     forth in Local Rule 7-3 and the Court's Standing Order, most meet and confer
     conferences would never take place.
  25        2
             On March 21, 2018 Defendants' counsel sent a detailed email summarizing
  26 what was discussed during the March 21, 2018 conference, and asked Plaintiff's
     counsel if he had inadvertently misstated or omitted anything. (Blakely Decl. Ex. #1)
  27
     As set forth in that confirming email, the only motion raised by Defendant was for
  28 Expedited Discovery. (id.) While Mr. Avenatti immediately responded to this email,
            (footnote continued)
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   1        Plaintiff has admittedly not complied with Local Rule 7-3 and this Court's
   2 Standing Order, and pursuant to same Plaintiff's Motion for Expedited Jury Trial
   3 (Dkt. #29) should be denied.
   4        Finally, to be clear, Plaintiff did not meet and confer in regard to the entire
   5 motion which is set forth in Docket # 29. The entire motion should be denied for
   6 Plaintiff's failure to meet and confer in compliance with Local Rule 7-3 and this
   7 Court's Standing Order (Dkt. #11).
   8
   9
  10 Dated: April 10, 2018                BLAKELY LAW GROUP
  11
  12                                      By: /s/ Brent H. Blakely
                                              BRENT H. BLAKELY
  13                                          Attorneys for Defendants
  14                                          ESSENTIAL CONSULTANTS, LLC and
                                              MICHAEL COHEN
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  27 he did not attempt or otherwise clarify that he also discussed a motion for expedited
  28 trial during the meeting. (id) The obvious reason is because he never did.
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   1                     DECLARATION OF BRENT H. BLAKELY
   2        I, Brent H. Blakely, declare:
   3         1.    I am an attorney duly licensed to practice before all courts of the State of
   4 California and in the U.S. District Court for the Central District of California, among
   5 other courts. I make this declaration based on my own personal knowledge and, if
   6 called and sworn as a witness, I could and would competently testify hereto.
   7         2.    I am a partner of the law firm of Blakely Law Group, counsel of record
   8 for Defendant Essential Consultants, LLC (“EC”) and Defendant Michael D. Cohen.
   9        3.     Attached hereto as Exhibit #1 and incorporated herein by this reference
  10 is a true and correct copy of an email chain between myself and Plaintiff's counsel,
  11 Michael Avenatti, beginning on March 16, 2018 and ending on March 21, 2018.
  12
  13        I declare under penalty of perjury under the laws of the United States of
  14 America that the foregoing is true and correct.
  15
  16 Executed on April 10, 2018, at Los Angeles, California.
  17
                                            /s/ Brent H. Blakely
  18                                        BRENT H. BLAKELY
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          REPLY RE OBJECTION TO PLAINTIFF'S MOTION FOR EXPEDITED JURY TRIAL
